                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                            CASE NO. 5:20-CV-230-BO

CAMERON CAIN-BAARBÉ, individually and           )
as the representative of the ESTATE OF          )
ALEXANDER PINCZOWSKI; JAMES                     )
PALMER CAIN; and HELEN REVELLE CAIN;            )
                                                )
RON GREENFIELD; PNINA GREENFIELD;               )
LIRON SHALOM GREENFIELD; SHERE                  )
GREENFIELD; GILI GREENFIELD; and SHYE )
GREENFIELD;                                     )
                                                )
CARYN OR TSADOK ORBACH and URI                  )
ORBACH, individually and as the                 )
representatives of the ESTATE OF EREZ           )
ORBACH and on behalf of their minor children    )
A.O., E.O., and O.O.; EITAN ORBACH; and         )
ALON ORBACH;                                    )
                                                )
EYTAN YAIR RUND and TAMAR BRACHA                )
RUND, individually and on behalf of their minor )
children S.A.R., H.H.R., and Y.M.R.;            )
                                                )
NITZACHYA GOLDMAN, individually and as          )
the representative of the ESTATE OF             )
AVRAHAM GOLDMAN; GILA                           )
NISSENBAUM; NATAN GOLDMAN; MAYA )
GOLDMAN COHEN; SHARON GOLDMAN                   )
NAJMAN; YOSEF GOLDMAN; ISRAEL                   )
GORENZKY; and TAMAR CHORESH;                    )
                                                )
BEATRIZ GONZALEZ, individually and as the )
representative of the ESTATE OF NOHEMI          )
GONZALEZ; JOSE HERNANDEZ; REY                   )
GONZALEZ; and PAUL GONZALEZ,                    )
                                                )
                        Plaintiffs,             )
                                                )
                        v.                      )
                                                )
THE SYRIAN ARAB REPUBLIC,                       )
                                                )
                       Defendant.               )




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                 MOTION TO VACATE OR MODIFY NOTICE DIRECTING
                 PLAINTIFF TO PROCEED AFTER ENTRY OF DEFAULT

          NOW COME Plaintiffs, by and through the undersigned counsel, responding to the Court’s

March 28, 2022 Notice Directing Plaintiff to Proceed after Entry of Default (“Notice”) (ECF No.

56) On February 25, 2022 the Clerk noted the default of Defendant The Syrian Arab Republic

(“Syria”) pursuant to Fed. R. Civ. P. 55(a). The next step is for Plaintiffs to file a Motion for

Default Judgment pursuant to Fed. R. Civ. P. 55(b). Thereafter, on March 28, 2022 the Court,

issued the Notice (ECF No. 56), which instructed Plaintiffs to proceed in accordance with Rule

55(b) and stated “if no steps are taken within 21 days…the court will require you to show cause

why this action should not be dismissed…for failure to prosecute.”

          Plaintiffs now file this motion to explain what remains to be done in the case, and to ask

the Court to vacate the 21-day deadline as it is not possible to be met, and to set a more workable

timeframe for this case.

          Because this is an action under the state-sponsored terrorism exception to the Foreign

Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1605A, a Motion for Default Judgment is

governed by 28 U.S.C. § 1608(e), which requires presentation of evidence “satisfactory to the

court.”

          Even in a garden variety suit, the entry of a default judgment is “not automatic” and

requires the exercise of sound discretion. See Mwani v. bin Laden, 417 F.3d 1, 6, 368 U.S. App.

D.C. 1 (D.C. Cir. 2005); Sanchez v. Devashish Hospitality, LLC, 322 F.R.D. 32, 36 (D.D.C. 2017);

Boland v. Yoccabel Constr. Co., Inc., 293 F.R.D. 13, 17 (D.D.C. 2013) (citing Jackson v. Beech,

636 F.2d 831, 836 (D.C. Cir. 1980)). The Court must—at a minimum—satisfy itself that it has

subject-matter jurisdiction over the claims and personal jurisdiction over the defendants. See Jerez

v. Republic of Cuba, 775 F.3d 419, 422 (D.C. Cir. 2014) (“A default judgment rendered in excess


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of a court’s jurisdiction is void.”); Mwani, 417 F.3d at 6 (explaining that the Court must “satisfy

itself that it has personal jurisdiction before entering judgment against an absent defendant.”). In

cases brought against a foreign state, however, the Court’s discretion to enter a default judgment

is even more narrowly circumscribed. By statute, no federal or state court may enter a default

judgment against a foreign state or instrumentality “unless the claimant establishes his claim or

right to relief by evidence satisfactory to the court.” 28 U.S.C. § 1608(e). This is the same standard

that applies to default judgments against the United States under Federal Rule of Civil Procedure

55(d). See Owens v. Republic of Sudan, 864 F.3d 751, 785, (D.C. Cir. 2017); Hill v. Republic of

Iraq, 328 F.3d 680, 683 (D.C. Cir. 2003).

       Plaintiffs must, accordingly, carry the burden of showing that the Court has subject matter

and personal jurisdiction, and they must establish their right to recover by producing evidence

satisfactory to the Court. To establish subject matter jurisdiction, Plaintiffs must show that: (1) the

“terrorism exception” to the FSIA applies—that is, they must show that they seek money damages

from a foreign state for personal injury or death caused by a covered act of terrorism or “the

provision of material support or resources for such an act;” (2) the foreign state was designated as

a state sponsor of terrorism at the time of the act of terrorism (or because of the act) and remained

so designated at the time the suit was brought (or shortly before suit was brought); and (3) “the

claimant or the victim was, at the time” of the act of terrorism, “a national of the United States,” a

member of the U.S. military, or an employee (or contractor) of the United States acting within the

scope of her employment. 28 U.S.C. § 1605A(a). To establish personal jurisdiction, Plaintiffs must

show that the Court has subject matter jurisdiction over their claims and that Iran was served in

accordance with 28 U.S.C. § 1608. 28 U.S.C. § 1330(b). And, to establish a right to recover,

Plaintiffs must offer evidence showing that they satisfy either (1) each of the elements of the cause




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of action set forth in 28 U.S.C. § 1605A(c) or (2) each of the elements of a common law tort cause

of action. See Owens, 864 F.3d at 809.

       In a case such as this in which Plaintiffs allege that a foreign state materially supported acts

of terrorism, the district court must determine “how much and what kinds of evidence the plaintiff

must provide.” Han Kim v. Democratic People’s Republic of Korea, 774 F.3d 1044, 1047 (D.C.

Cir. 2014). But the Court must do so in light of Congress’s purpose in enacting § 1605A—that is,

to “compensate the victims of terrorism…[so as to] punish foreign states who have committed or

sponsored such acts and [to] deter them from doing so in the future,” id. at 1048 (citation

omitted)—and the difficulty in obtaining “firsthand evidence and eyewitness testimony…from an

absent and likely hostile sovereign,” Owens, 864 F.3d at 785.

       In order to carry this burden to establish the liability aspects of their claims, Plaintiffs are

intending to offer evidence including multiple expert witnesses regarding the perpetrators of the

terrorist attacks at issue, the terrorist organizations they were affiliated with, and Syria’s state

sponsorship of those terrorists. To establish the damages aspects of the case, Plaintiffs are planning

to offer their own testimony by declaration, declarations of physicians and psychological experts,

and also experts about the law of France and Belgium, as for certain plaintiffs who are not United

States citizens their claims are governed by foreign law. Presenting all this proof is a huge

undertaking. In addition, Plaintiffs will submit a memorandum of law and a proposed findings of

fact and conclusion of law tying together all the evidence from the liability and damages experts,

and setting forth the proposed damages awards and the factual and legal basis therefor.

       Plaintiffs have been working on this project for months, but it remains a considerable

distance from being completed. Plaintiffs have retained a liability expert with respect to three of

the terror attacks that has issued a report, but must retain another liability expert for one of the




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terror attacks; Plaintiffs’ counsel has interviewed numerous plaintiffs, but must still interview

some plaintiffs and then prepare and finalize declarations for over two dozen plaintiffs to review

and execute; Plaintiffs have retained a psychologist to evaluate the plaintiffs but there are several

plaintiffs that must still be evaluated by the psychologist; Plaintiffs have retained a physician to

evaluate the survivors of the terrorist attacks with respect to their physical injuries, but the

physician first had to obtain various medical records for those plaintiffs with respect to their

treatment for their physical injuries due to the terror attacks, and is now in the process of

proceeding to evaluate those plaintiffs; Plaintiffs have engaged experts in Belgian and French tort

law who are preparing their declaration; Plaintiffs intend to rely on evidence that had been

presented in an earlier case and had to obtain transcripts from the court reporter in the earlier case.

       The death of plaintiffs’ decedents Erez Orbach, Nohemi Gonzalez, Alexander Pinczowski

and Avraham Goldman has left their families still to this day struggling, which has made obtaining

the family’s cooperation for evaluations and interviews a process imbued with pain and heartache,

which means we must proceed slowly.

       Plaintiffs anticipate being able to file their Motion for Default Judgment within a

reasonable time period, but still it will take several more months to fully prepare the motion for a

default judgment. Plaintiffs believe that the submission will likely be ready by mid-July.

       WHEREFORE, Plaintiffs pray the Court to vacate and/or modify the Notice Directing

Plaintiff to Proceed after Entry of Default (ECF No. 56), and furthermore, that Plaintiffs be

required to file a further status report no later than July 31, 2022, unless the Motion for Default

Judgment has been filed prior to this July 31, 2022 deadline.




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This the 15th day of April, 2022.

                                          THE BERKMAN LAW OFFICE, PLLC

                                    By:      /s/ Robert J. Tolchin
                                          Robert J. Tolchin, NY Reg.# 2546596
                                          111 Livingston Street, Suite 1928
                                          Brooklyn, New York 11201
                                          Telephone: (718) 855-3627
                                          rtolchin@berkmanlaw.com

                                          SHANAHAN LAW GROUP, PLLC

                                    By:      /s/ Kieran J. Shanahan
                                          Kieran J. Shanahan, NCSB # 13329
                                          128 E. Hargett Street, Suite 300
                                          Raleigh, North Carolina 27601
                                          Telephone: (919) 856-9494
                                          Facsimile: (919) 856-9499
                                          kieran@shanahanlawgroup.com
                                          Local Rule 83.1 Counsel
                                          Attorneys for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Motion to Vacate or Modify Notice Directing Plaintiff
to Proceed After Entry of Default was electronically filed this the 15th day of April, 2022 with
the Clerk of Court using the CM/ECF system. Parties may access this filing through the Court’s
Electronic Filing System. A copy has been placed in the United States Mail, First Class, postage
prepaid and addressed as follows:

                             The Syrian Arab Republic
                             c/o Foreign Minister Walid al-Muallem
                             Ministry of Foreign Affairs
                             Next to al-Assad University Hospital
                             Next to Presidency of the Counsel of Ministers Building
                             Kafar Soussa, Damascus Syria

                                                   SHANAHAN LAW GROUP, PLLC

                                          By:         /s/ Kieran J. Shanahan
                                                   Kieran J. Shanahan, NCSB # 13329
                                                   128 E. Hargett Street, Suite 300
                                                   Raleigh, North Carolina 27601
                                                   Telephone: (919) 856-9494
                                                   Facsimile: (919) 856-9499
                                                   kieran@shanahanlawgroup.com
                                                   Local Rule 83.1 Counsel
                                                   Attorney for Plaintiffs

Of counsel:
Robert J. Tolchin, NY Reg.# 2546596
The Berkman Law Office, PLLC
111 Livingston Street, Suite 1928
Brooklyn, New York 11201
Telephone: (718) 855-3627
rtolchin@berkmanlaw.com




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